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Law Offices of
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ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797

 

Law Offices of Alan R. Smith
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Telephone (775) 786-4579
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Email: mail@asmithlaw.com
Counsel for Debtors
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA
—o0o0000—
In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,
[Jointly Administered]
AT EMERALD, LLC, NOTICE OF ENTRY OF ORDER
APPROVING STIPULATION TO
CONTINUE HEARING ON US
Debtors. TRUSTEE’S MOTION TO
CONVERT CASE TO CHAPTER 7
New Hearing Date: September 10, 2014
/ New Hearing Time: 2:00 p.m.
PLEASE TAKE NOTICE that the above-entitled Court entered an Order Approving
Stipulation To Continue Hearing On US Trustee’s Motion To Convert Case To Chapter 7

[DE 132] on the 21* day of July, 2014 (“Order”). A copy of said Order is attached hereto as
Exhibit “A” and made a part hereof.
DATED this 22™ day of July, 2014.
LAW OFFICES OF ALAN R. SMITH
By: /s/ Alan R. Smith

ALAN R. SMITH, ESQ.
Attorney for Debtors

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Law Offices of
ALAN R. SMITH
505 Ridge Street

 

 

2
3 Honorable Bruce T. Beesley
United States Bankruptcy Judge
ty tered on Docket
duly 21, 2014
6 | ALAN R. SMITH, ESQ. #1449
HOLLY E. ESTES, ESQ. #11797
7 || Law Offices of Alan R. Smith
505 Ridge Street ELECTRONICALLY LODGED
8 || Reno, Nevada 89501 July 16, 2014
Telephone (775) 786-4579
9 || Facsimile (775) 786-3066
Email: mail@asmithlaw.com
10 || Attorney for Debtors
ANTHONY THOMAS and WENDI
11 | THOMAS and AT EMERALD, LLC
12
13
14 UNITED STATES BANKRUPTCY COURT
15 DISTRICT OF NEVADA
16 ——00000—
17 || In Re: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-50331-BTB
18 | ANTHONY THOMAS and Chapter 11 Cases
WENDI THOMAS,
19 [Jointly Administered]
20 || AT EMERALD, LLC, ORDER APPROVING STIPULATION
TO CONTINUE HEARING ON US
21 TRUSTEE’S MOTION TO CONVERT
CASE TO CHAPTER 7
22 Debtors.
VACATE
23 Old Hearing Date: July 30, 2014
Old Hearing Time: 2:00 p.m.
24
New Hearing Date: September 10, 2014
25 New Hearing Time: 2:00 p.m.
26 /
27 The Court having considered the Stipulation To Continued Hearing On US Trustee’s
28 || Motion To Convert Case To Chapter 7(the “Stipulation”) entered into between Debtor, AT

Reno, Nevada 89501

(775) 786-4579

 

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1 | EMERALD, LLC, by and through its counsel, Holly E. Estes, Esq., of the Law Offices of
2 || Alan R. Smith, and the United States Trustee, by and through her counsel William B. Cossitt, Esq.,
3 || filed herein on July 16, 2014 as Doc. 121, and good cause appearing,
4 IT IS HEREBY ORDERED that the Stipulation is approved and the hearing currently
5 || scheduled for July 30, 2014 at 2:00 p.m. shall be continued to September 10, 2014 at 2:00
6 || p.m.
7 IT IS HEREBY FURTHER ORDERED that the hearing scheduled for July 30, 2014
8 || at 2:00 p.m. shall be vacated.
9 IT IS SO ORDERED

10 | PREPARED AND SUBMITTED BY:

11 | LAW OFFICES OF ALAN R. SMITH

12 || By: /s/ Holly E. Estes

HOLLY E. ESTES, ESQ.

13 Attorney for Debtors

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15 #H #

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ALAN R. SMITH
505 Ridge Street
ROTTS) 1864579 || HAAT Emerald\Mot Convert (Ttee)\Ord Stip Cont Hey Mot Convert 071614-1miwpd ~

 

 
